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                             United States District Court
                                  EASTERN DISTRICT OF TEXAS
                                      SHERMAN DIVISION

 UNITED STATES OF AMERICA,                         §
                                                   §
                Plaintiff,                         §
                                                   §
 v.                                                §    CRIMINAL ACTION NO. 4:11-CR-248
                                                   §
 CHRISTOPHER MURPHY SPRING,                        §
                                                   §
                Defendant.                         §


                   MEMORANDUM ADOPTING REPORT AND
            RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Came on for consideration the above-referenced criminal action, the Court having

 heretofore referred the request for the revocation of Defendant’s supervised release to the United

 States Magistrate Judge for proper consideration.      The Court has received the Report and

 Recommendation of the United States Magistrate Judge pursuant to its order. Defendant having

 waived allocution before the Court as well as his right to object to the report of the Magistrate

 Judge, the Court is of the opinion that the findings and conclusions of the Magistrate Judge are

 correct.

        It is therefore, ORDERED that the Report and Recommendation of United States

 Magistrate Judge is ADOPTED as the opinion of the Court.

        It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

 It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons for

 a term of imprisonment of ten (10) months, with no term of supervised release to follow.
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        The Court also recommends that Defendant be housed in the Bureau of Prisons FCI Ft.

 Worth facility, if appropriate.

         . IS SO ORDERED.
        IT
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
         SIGNED at Beaumont, Texas, this 11th day of October, 2016.




                                        ________________________________________
                                                    MARCIA A. CRONE
                                             UNITED STATES DISTRICT JUDGE




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